            Case 2:17-cv-00550-DN Document 91-1 Filed 03/28/19 Page 1 of 4



 

                                  IN THE UNITED STATES DISTRICT COURT  
                                        FOR THE DISTRICT OF UTAH       
     
    Criminal Productions, Inc. 
                                                      
     
           Plaintiff, 
                                                     Case No. 2:17‐cv‐00550
    v.                                                
                                                     District Judge David Nuffer 
    Darren Brinkley (Doe Number 15), 
     
           Defendant. 
     
 
I, David H. MADDEN, submit this Declara on se ng forth facts within my knowledge and 

experience that may be relevant to issues in the above‐cap oned ac on.  As to the following 

statements, I believe them to be true, and I make this Declara on understanding that knowing 

false statements may subject me to penalty for perjury under the laws of the United States.  If 

called upon to tes fy to these ma ers, I could and would do so competently and in accordance 

with the following: 

    . I am an a orney admi ed in California, Oregon and Utah.  I have represented defendants in 

      BitTorrent copyright li ga on in all three states since about      . 


    . Prior to gaining admission to the bar, I was employed as a so ware engineer.  I designed, 

      developed, deployed and maintained programs and systems to interact over distributed 

      data networks such as the Internet.  I hold several U.S. patents, including two for 

      cryptographically‐secure data storage protocols over untrusted networks. 

    . I recently obtained the deposi on of Benjamin PERINO in a District of Oregon case, Criminal 

      v. Bekahi,  :   ‐cv‐   .  Mr. PERINO is a computer programmer who claims to have 

      developed the so ware that collects the informa on upon which most of these BitTorrent 
         Case 2:17-cv-00550-DN Document 91-1 Filed 03/28/19 Page 2 of 4




   lawsuits are based.  Mr. PERINO has not yet completed his review of the deposi on 

   transcript, so I cannot provide a copy of the relevant por ons as an exhibit to this 

   declara on.  However, based on my review of case documents provided by Ms. CLAY, I 

   believe his tes mony was at signiﬁcant and material variance from representa ons 

   concerning the same ma ers that have been made to this Court. 

4. I would urge the Court to inquire further and carefully, either in connection with the 

   present case, or during the standard “early discovery” sought by a plaintiff in the next 

   BitTorrent case. 

5. A question I believe would be useful to investigate is the exact nature of the purported 

   evidence upon which plaintiff bases its allegations and its request for early discovery. Based 

   on my understanding of PERINO’s testimony, I believe that the information on which 

   BitTorrent plaintiffs institute their suits is not admissible because no witness has personal 

   knowledge of it; nor would it satisfy Fed. R. Evid. 703 as a reliable basis for an expert’s 

   opinion; and it could not independently reach the “more than a scintilla” level to be 

   considered “substantial evidence,” let alone support a “preponderance” finding on a charge 

   of infringement. (The “scintilla” concept is especially appropriate in these cases, where the 

   purported “evidence” may not comprise even a single frame of a motion picture.) 

6. I do not claim to be an expert in computer networks, BitTorrent transactions, or legal 

   evidentiary principles, but I believe the systems used to collect case‐initiating data for 

   BitTorrent lawsuits are flawed and unreliable because they are proprietary (not peer‐

   reviewed); not certified or tested by any accepted standards agency (or even by consistent 

   tests performed by the developers); and because they intentionally discard information that 

   might be exculpatory, since such information does not serve the business purpose of 

   collecting and selling computer IP addresses to plaintiffs who will file lawsuits based upon 

   them. 




                                                 2
         Case 2:17-cv-00550-DN Document 91-1 Filed 03/28/19 Page 3 of 4




7. An analogy may help to explain the sort of “exculpatory information” I believe is discarded 

   by these systems.  

8. Suppose that a city implements a “red‐light camera” system that takes photos of cars 

   present in an intersection after the signal turns red. The system takes three photos: one of 

   the car, one of the license plate, and one of the driver. These photos are mailed to the 

   driver’s address of record with a traffic citation. 

9. Now suppose that the city decides to automate the license‐plate analysis. After the 

   characters of the plate are analyzed, the photos are discarded, and a citation simply listing 

   the plate number, date and time is mailed to the registrant. 

10. In the second case, the registrant has no way to investigate or evaluate the allegation 

   against him. Perhaps the plate analysis misread a “B” for an “8”; perhaps the car running 

   the light was a different vehicle from another state (with a similar plate number); or 

   perhaps someone else was driving the car at the time. But because the original source 

   photos were deleted, the registrant cannot reasonably defend himself. 

11. Furthermore, the only apparent motivation for the city to discard the photos is exactly that: 

   to ensure that the registrant has no choice but to pay the citation. 

12. The BitTorrent data collection apparatus discards information that may be exculpatory. 

   Specifically, Mr. PERINO testified that the system he implemented automatically collects 

   data from anonymous computers communicating over the Internet. The data would 

   presumably include sound and images from a movie, but would also include non‐

   audiovisual data indicating software versions, computer types and so forth. However, only a 

   partial, limited summary or synopsis of that data is stored, while the actual data – including 

   the software versions and computer types – is discarded. Further, the synopses are made 

   through a “oneway” mathematical process called “hashing,” which ensures that it is 

   impossible to reconstruct the automatically‐collected data from a stored synopsis. 




                                                  3
         Case 2:17-cv-00550-DN Document 91-1 Filed 03/28/19 Page 4 of 4




13. The BitTorrent lawsuits are filed on the basis of the stored synopses, so even assuming that 

    the plantiff had the evidence it claims at one time, it does not now have such evidence, and 

    it is further mathematically precluded from regenerating such evidence. These deficiencies 

    are concealed from the Court through artful pleading and vague representations that rely 

    on the Court’s lack of technical expertise and reluctance to commit judicial resources in the 

    beginning of a case, when it is normally proper to rely on the parties’ greater motivation to 

    explore alternatives and to test allegations and defenses thoroughly. 

14. Granting early discovery without careful investigation – and failing to hold plaintiffs to 

    account when they name the wrong individual – guarantees that citizens within a Court’s 

    jurisdiction will continue to be victimized by this type of litigation. 

     
     
     
    Respectfully submitted, 
                                                                     Digitally signed by
                                                                     David MADDEN
         26 March 2019                                               Date: 2019.03.26
 
              Date                   David H. Madden 
                                                                     16:32:40 -07'00'
                                     Portland, Oregon 
 
 




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